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                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                             Case Number 8:08CR61-001

                                                               USM Number 22192-047

RICHARD RIDPATH
                           Defendant
                                                               ANDREW D. STROTMAN

                                                               Defendant’s Attorney
___________________________________

                             AMENDED JUDGMENT IN A CRIMINAL CASE
Date of Original Judgment: 03/23/2009
(Or Date of Last Amended Judgment)

Reason for Amendment:
       Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36) regarding the conditions of probation.

THE DEFENDANT on pleaded guilty to Count I of the Information on October 17, 2008.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                                     Date Offense                   Count
           Title, Section & Nature of Offense                         Concluded                    Number


 8:1324a(a)(2); 8:1324a(f)(1) and 18:2 - CONTINUED              June 26, 2007                          1
 EMPLOYMENT OF ILLEGAL ALIENS

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

The Indictment is dismissed on motion of the Government as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant
to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such
Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.

                                                                               Date of Imposition of Sentence:
                                                                                               March 16, 2009

                                                                                   s/ Laurie Smith Camp
                                                                                   United States District Judge

                                                                                         March 31, 2009
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                                            PROBATION

The defendant is hereby sentenced to probation for a term of five (5) Years commencing March
16, 2009.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The requirement of 18 U.S.C. 3563(a)(5) regarding drug testing within 15 days of release on
probation and at least two periodic drug tests thereafter, is suspended until further order of the
Court because the Presentence Investigation Report on the defendant and other reliable sentencing
information indicates a low risk of future substance abuse by the defendant.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.

                         STANDARD CONDITIONS OF SUPERVISION

1.      the defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      the defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      the defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      the defendant shall support his or her dependents and meet other family responsibilities;
5.      the defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      the defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      the defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      the defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     the defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     the defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     the defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
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13.     as directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.

                             SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall submit his or her person, residence, office, or vehicle to a search conducted by
        a United States Probation Officer at any time; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

2.      The defendant shall complete one hundred twenty-five (125) hours of community service as
        approved and directed by the United States Probation Officer. The defendant shall be responsible
        for providing the United States Probation Officer with written proof of the number of hours completed.

3.      Defendant shall participate in the Victim Awareness Program as directed by the U. S. Probation
        Officer. Based on the defendant’s ability to pay, the defendant shall pay for the cost of the program
        in an amount determined by the probation officer.

4.      The defendant shall pay a fine in the amount of 3,000.00 to the Clerk of the United States District
        Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102. This amount is due immediately.

5.      The defendant shall provide the United States Probation officer with access to any requested
        financial information.

6.      The defendant shall report to the United States Probation office for the District of Nebraska
        between the hours of 8:00am and 4:30pm, 111 South 18th Plaza, Suite C79, Omaha Nebraska,
        (402) 661-7555, within seventy-two (72) hours of being placed on probation and, thereafter, as
        directed by the probation officer.
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                             CRIMINAL MONETARY PENALTIES


        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in this judgment.

       Total Assessment                    Total Fine                  Total Restitution
          $10.00 (Paid)                    $3,000.00
                                  of which a balance of
                                  $2,700.00 remains due and
                                  payable.


        interest requirement is waived.



                                             FINE

A Fine in the amount of $3,000.00 is imposed.



                                          RESTITUTION

        No restitution was ordered.
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                                     SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $10.00 (paid) and the fine in
the amount of $3,000.00 of which a balance of $2,700.00 remains due and payable.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $87.00 or 5% of the defendant’s gross income, whichever is greater; (b) the first
payment shall commence 30 days following sentencing, and continue until the criminal
monetary penalty is paid in full; and (c) the defendant shall be responsible for providing proof of
payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
